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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
               v.                             :       Case No. 21-CR-647
                                              :
BENJAMEN BURLEW,                              :
                                              :
                       Defendant.             :


                                       STATUS REPORT

       The United States of America, with concurrence of defense counsel, hereby respectfully

submits this status report to the Court regarding the above-captioned case.

       A. Background

       The defendant was charged by complaint on June 25, 2021. The arrest warrant was

executed in August 2021, and the defendant made an initial appearance in the District of Columbia

on August 26, 2021. The defendant was indicted on October 27, 2021. He made his initial

appearance on the indictment on November 5, 2021. The indictment was superseded, and the

defendant was arraigned on the superseding indictment at a status conference on March 25, 2022.

The Court originally set a trial date of October 24, 2022. The defendant underwent competency

and sanity evaluations upon the defendant’s motion, which were completed and filed with this

Court in December 2022. A trial date was set for December 1, 2023, with time excluded under the

Speedy Trial Act until that time. On October 27, 2023, the Court issued a minute order requesting

that the parties file a Status Report to indicate whether December 11, 2023 would be an available

trial date for the parties, and whether defense counsel had been in contact with his client.

       B. Status Update

       The defendant has indicated, through counsel, that he intends to enter into a plea

agreement with the United States. The government has not yet received signed copies of the plea
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agreement. Defense counsel has been in communication with his client. The parties propose that

a plea hearing be scheduled for November 30, 2023, at which time the defendant has indicated he

would be available to travel to the District of Columbia.

       If the defendant cannot proceed with a plea hearing, the government notes that it is

available to proceed to trial on December 11, 2023. Counsel for the defendant notes that defense

counsel is also available for trial on that date. The government notes, however, that it would not

be available on Friday, December 15, 2023.

                                             Respectfully submitted,

                                             COUNSEL FOR THE GOVERNMENT

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                                             _________________________
                                               s/Anna Krasinski
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